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                                   United States District Court
                                   Southern District of Texas
                                       Galveston Division

Jana Reed, Individually and as Representative          §
of the Estate of Christopher Reed and on               §
behalf of A.R.(a minor); Logan Reed, and Chase         §
Reed                                                   §
       Plaintiffs                                      §       Civil Action No. 3:19-CV-00238
                                                       §
versus                                                 §       Rule 9(H)
                                                       §
                                                       §
Maersk Line, Limited                                   §
      In Personam Defendants;                          §
M.V. Maersk Idaho                                      §
      In Rem Defendant.                                §

                              Plaintiffs’ Initial Rule 26 Disclosures

To:      Defendant Maersk Line, Limited, and the M.V. Maersk Idaho, by and through their
         attorney of record, James T. Brown, HFW, 5151 San Felipe, Suite 400, Houston, Texas
         77056.

       Pursuant to Federal Rule of Civil Procedure 26(a)(1), Plaintiffs now make their initial
disclosures.

   A. Individuals with Discoverable Information

         Plaintiffs:

         Jana Reed, Individually and as Executrix of the Estate of Christopher Reed, and as
         parent of minor child A.R.
         c/o
         Paxton N. Crew, Esq.
         The Crew Law Firm, P.C.
         305 East Main
         League City, Texas 77573

Plaintiff Jana Reed was married to Christopher Reed for twenty-nine years. She has knowledge of
the accident in question, the manner and method which Christopher Reed was piloting their 20’
recreational boat, the conditions on the afternoon of June 7, 2019 in Galveston Bay, her identification
of the M.V. Maersk Idaho, the speed and general direction in which the Reed’s boat was headed in
Galveston Bay on that date, the appurtenances on board the Reed’s boat, the size of the M.V. Maersk
Idaho’s wake and whether it could be clearly observed from her vantage point aboard the Reed’s
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vessel. She also has knowledge of the accident in question, and from her perspective, how hit
occurred, as stated in her original complaint. She has knowledge of her attempts to save her husband
from drowning and her witnessing him drown. She has knowledge of the attempts to rescue/recover
him following the accident and the damage caused to her by having witnessed this and to her family
by his loss—and therefore has knowledge of the damages she has sustained and her minor child has
sustained by his loss. Ms. Reed is also expected to offer testimony and to assist her minor child in
providing testimony regarding the loss of Chris and what impact that will have on their youngest
child (A.R.).

       Logan Reed
       c/o
       Paxton N. Crew, Esq.
       The Crew Law Firm, P.C.
       305 East Main
       League City, Texas 77573

Ms. Logan Reed is Christopher and Jana Reed’s adult daughter. She has knowledge of her damages
in this case, including the loss of her father in her life, and how that has affected her.

       Chase Reed
       c/o
       Paxton N. Crew, Esq.
       The Crew Law Firm, P.C.
       305 East Main
       League City, Texas 77573

Mr. Chase Reed is Christopher and Jana Reed’s son. He has knowledge of his damages in this case,
including the loss of his father in his life, and how that has affected him.

       Minor Child (A.R.)
       c/o
       Paxton N. Crew, Esq.
       The Crew Law Firm, P.C.
       305 East Main
       League City, Texas 77573

(A.R.) is Christopher and Jana Reed’s youngest daughter. She has knowledge of her damages in this
case, including the loss of her father in her life, and how that has affected her. She is expected to
testify with the assistance of her mother, Jana Reed.

       Maersk Witnesses:

       Corporate Representatives of Maersk Line, Limited
       Master of the M.V. Maersk Idaho
       Lookout of the M.V. Maersk Idaho
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       Crewmembers of the M.V. Maersk Idaho
       c/o James T. Brown
       HFW
       5151 San Felipe, Suite 400
       Houston, Texas 77056

The witnesses above have information and knowledge related to Plaintiffs’ claims and the
Defendants’ defenses, notably: the wake characteristics of the M.V. Maersk Idaho in a narrow
channel, such as the Houston Ship Channel; the impact of speed on a vessel’s wake; the under keel
clearance requirements for a vessel such as the M.V. Maersk Idaho transiting the Houston Ship
Channel; the safe speed for the M.V. Maersk Idaho to prevent wake damage to other vessels in
Galveston Bay; the standing orders of the M.V. Maersk Idaho; the safety policies in place to avoid or
limit wake damage to other vessels caused by the M.V. Maersk Idaho; the dimensions, draft and trim
of the M.V. Maersk Idaho on June 7, 2019; the bridge team communications and engine room orders
carried out aboard the M.V. Maersk Idaho on June 7, 2019; and other relevant information that may
be discovered as this case progresses.

B.     Relevant Documents, Electronically Stored Information & Tangible Things

Copies of all documents in Plaintiff’s possession relating to this claim and the dispute have been
provided to opposing counsel electronically.

C.     Information Related to Calculation of Damages

Plaintiffs will provide expert reports pursuant to the Court’s case management plan regarding
economic damages.


                                                       /s/ Paxton N. Crew
                                                       Paxton N. Crew
                                                       ATTORNEY-IN-CHARGE FOR
                                                       PLAINTIFFS
                                                       SDTX 859147
                                                       TBA No. 24058720
                                                       303 E. Main, Suite 260
                                                       League City, Texas 77573
                                                       Paxton@thecrewlawfirm.com
                                                       Telephone 713-955-0909
                                                       Facsimile 409-908-4050

                                                       And

                                                       /s/ John W. Stevenson, Jr.
                                                       JOHN W. STEVENSON, JR.
                                                       SDTX: 3992
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                                                    State Bar No. 19196050
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                                                     Houston, Texas 77046
                                                    jstevenson@stevensonmurray.com
                                                    (713) 622-3223 Office
                                                    (713) 622-3224 Facsimile


                                    Certificate of Service

On October 28, 2019 I certify that a copy of Plaintiff’s Rule 26 Disclosures was submitted to
Defendants (without attachments) by the Southern District of Texas Electronic Case Filing System
and was served by electronic mail before 5:00 pm with enclosures, on the following attorney for
Defendants:

James T. Brown
HFW
5151 San Felipe, Suite 400
Houston, Texas 77056
                                      /s/ Paxton N. Crew
                                        Paxton N. Crew




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